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                    IN THE UNITED STATES DISLÔ[FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                                             7Th JUN- P 2:12

                                             DEBRA R HACETT. CLK
         CQrSFZ6-4&
             and                              U.S. DrSTRICT COURT
    Full name      'prison number            H DUE L E D!S1TTCT ALA
    of plaintiff (s)
                                               CIVIL ACTION NO.!
                        JV%4                   (To be supplied by Clerk of
                                                U.S. District Court)
    44frr io r   iS, C4T
              o6cF1ca(c CL14 I
                                                      DEMAND FOR JURY TRIAL
    ç-os'3, c          cyAR,


    Name ófperson(s) who violate
    yur constitutional rights.
    (List the names of all the
    persons.)

    I.      PREVIOUS LAWSUITS
            A.   Have you begun other lawsuits in state or federal court
                 dealing with the same or similar facts involved in this
                 action? YES ( ) NO (1CJ/
            B.   Have you begun other iahuits in state 'deral court
                 relating to your imprisonment? YES (V) NO (   )
            C.    If your answer to A or B is yes, descibe each lawsuit
- - -- -           n .th.e c     1       7t           rthrone l.a.siit
                  describe the additional lawsuits on another piece o
                  paper, using the same outline.)
                  1.    Parties to this právious lawsuit:
                        Plaintiff (s)                       -4-EEC.boct



                        Defendant(s)


                  2.     Court (if federal court, name the district; if
                         state court, name the county)
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N266
                                 STATE OF ALABAMA
                                     Department of Corrections
                                        Inmate Stationary




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N266
                           STATE OF ALABAMA
                                   Department of Corrections
                                      Inmate Stationary
                                                       --   T.       ....
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             3.     Docket ruiner
             4.     Name of judge to whom case was assigned .... .


             S.     Disposition (for example: Was the case dismisss.?
                    Was it appealed? Is  itstill pending?)


             6.     Approximate date of filing lawsuit
             7.     Approximate date of disposition


          S -)c,    1iJi ^2 1,ci ri^,L,A
I.I. PLACE OF PRESENT CONFINEMENT


     PLACE OF INSTITUTION WHERE INCI DENT OCCURRED



III. NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
     CONSTITUTIONAL RIGHTS.

     1.vW
     2.
             NAME-

             .p4-
                                        ADDRESS.


                                               •-
                                                                k


                                                                            I


     3.
             O(CS c'tet
                    LA
     4.      AJ4tO


     6.
IV. THE DATE UPON WHICH SAID VIOLATION OCCURRED 12..L- ('1-de-L

V. STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
    - THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:
     GROUND ONE:                                           -




              ---.----      - -.              ".-                               -   -
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s'rATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as
best you can the time, place and manner and person involved.)




GROUND TWO:


SUPPORTING FACTS:




 GROUND THREE:


 SUPPORTING FACTS:




                               3
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                           STATE OF ALABAMA
                                   Department of Corrections
                                      Inmate Stationary
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I
          VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COUP,, TO DO FOR you.
                !^AKZ NO LEGAL ARGUI4ENT. CITE NO CASES OR STATUTES.




                     1



                                                   FA


                I declare und er penalty of                   that the/ foregoing is true
           and correct.
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                EXECUTED on
                                         a



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